         Case 4:09-cv-40148-FDS Document 11 Filed 02/04/10 Page 1 of 1



                         UNITED STATES DISTRICT COURT
                          DISTRICT OF MASSACHUSETTS




Ishua Corporan,
       Plaintiff(s),
                                                    CIVIL ACTION
                V.
                                                    NO. 09-40148- FDS




GC Services,
      Defendant(s),


                       SETTLEMENT ORDER OF DISMISSAL


Saylor, D. J.


      The Court having been advised on       January 8, 2010

that the above-entitled action has been settled;

      IT IS ORDERED that this action is hereby dismissed without costs and

without prejudice to the right of any party, upon good cause shown, to reopen the

action within thirty (30) days if settlement is not consummated.



                                                    By the Court,


  February 4, 2010                                  /s/ Martin Castles
        Date                                        Deputy Clerk
